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Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-SHL
INC.,1
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                           CERTIFICATE OF NO OBJECTION
                      REGARDING EIGHTH THROUGH ELEVENTH
                  MONTHLY FEE STATEMENTS OF DUNDON ADVISERS LLC

        In accordance with the procedures established under the Order Pursuant to 11 U.S.C.

§§ 105(A) and 331 Establishing Procedures for Monthly Compensation and Reimbursement of

Expenses of Professionals, entered on August 12, 2022 [Docket No. 125] (the “Compensation

Order”), the undersigned counsel for the Official Committee of Unsecured Creditors (the

“Committee”) hereby certifies as follows:




1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.
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        1.       On July 21, 2023, counsel to the Committee at Pachulski Stang Ziehl & Jones LLP

(“PSZJ”) filed the following monthly fee statements (the “Monthly Fee Statements”) on behalf of

Dundon Advisers LLC (“DA”), co-financial advisor to the Committee:

                      a.     Eighth Monthly Fee Statement of Dundon Advisers LLC for Compensation

                             for Services Rendered and Reimbursement of Expenses Incurred as Co-

                             Financial Advisor to the Official Committee of Unsecured Creditors for the

                             Period from March 1, 2023 Through March 31, 2023 [Docket No. 579];

                      b. Ninth Monthly Fee Statement of Dundon Advisers LLC for Compensation

                             for Services Rendered and Reimbursement of Expenses Incurred as Co-

                             Financial Advisor to the Official Committee of Unsecured Creditors for the

                             Period from April 1, 2023 Through April 30, 2023 [Docket No. 580];

                      c. Tenth Monthly Fee Statement of Dundon Advisers LLC for Compensation

                             for Services Rendered and Reimbursement of Expenses Incurred as Co-

                             Financial Advisor to the Official Committee of Unsecured Creditors for the

                             Period from May 1, 2023 Through May 31, 2023 [Docket No. 581]; and

                      d. Eleventh Monthly Fee Statement of Dundon Advisers LLC for

                             Compensation for Services Rendered and Reimbursement of Expenses

                             Incurred as Co-Financial Advisor to the Official Committee of Unsecured

                             Creditors for the Period from June 1, 2023 Through June 30, 2023 [Docket

                             No. 582].

        2.       In accordance with the Compensation Order, (a) objections to the Eighth, Ninth,

and Tenth Monthly Fee Statements described at paragraph 1(a) to 1(c), above, were due no later

than August 7, 2023, and objections to the Eleventh Monthly Fee Statement described at paragraph

1(d), above, was inadvertently set for August 21, 2023 (the “Objection Deadline”). Paragraph 2(c)

of the Compensation Order provides, in relevant part, “[u]pon the expiration of the Objection

Deadline, each Professional may file a certificate of no objection or certification of counsel with

the Court, whichever is applicable, after which the Debtor is authorized to pay each Professional

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an amount (the “Actual Payment”) equal to the lesser of (a) 80% of the fees and 100% of the

expenses requested in the Monthly Fee Application (the “Maximum Payment”), and (b) the

aggregate amount of fees and expenses not subject to an objection.”

         3.      To the best of my knowledge, as of the filing of this Certificate of No Objection,

no objection or other responsive pleading to the Monthly Fee Statements has been (a) filed with

the Court on the docket of the above-captioned chapter 11 case, (b) served on PSZJ, or (c) served

on DA.

         4.      The Monthly Fee Statements were filed and served in accordance with the

Compensation Order. Consequently, pursuant to the Compensation Order, without the need for a

further order of the Court, and upon the filing of this Certification, the Debtor is authorized to pay

DA the Actual Payment amounts requested in the Monthly Fee Statements.

 Dated: August 22, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/Gillian N. Brown
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                                         Creditors




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